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   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 JOINT STIPULATION
   17                                            REGARDING CERTAIN TRIAL
                                                 ISSUES
   18
        THIS DOCUMENT RELATES TO ALL             JUDGE: Hon. Philip S. Gutierrez
   19   ACTIONS                                  PRETRIAL CONFERENCE: 5/16/2024
                                                 TRIAL DATE: 6/5/2024
   20                                            COURTROOM: First Street Courthouse
                                                             350 West 1st Street
   21                                                        Courtroom 6A
                                                             Los Angeles, CA 90012
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    1         WHEREAS, the parties have reached an agreement regarding the advance
    2   disclosure of witnesses and exhibits for trial, including the issue of adverse
    3   witnesses that was raised to the Court in the parties Proposed Final Pretrial
    4   Conference Order (Dkt. No. 1331-1);
    5         WHEREAS, the parties have conferred and reached an agreement regarding
    6   the testimony of Sean McManus due to his limited availability to appear at trial;
    7   and
    8         WHEREAS, the parties have reached an agreement regarding the use of
    9   exhibits during opening statements at trial;
   10         NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through
   11   their respective counsel, hereby stipulate and agree, subject to the Court’s approval,
   12   to the following:
   13   Disclosure of Witnesses and Exhibits
   14         1)     Witnesses shall be disclosed by 9:00 a.m. Pacific three days (72 hours)
   15   prior to being called;
   16         2)     With the exception of adverse witnesses called during Plaintiffs’ case
   17   in chief, the parties shall disclose all exhibits to be used on direct examination with
   18   a witness by 9:00 a.m. Pacific two days (48) hours prior to the start of that witness’s
   19   direct examination;
   20         3)     Exhibits intended to be used during any adverse or cross examination
   21   shall not be disclosed in advance;
   22         4)     For any adverse witness called live during Plaintiffs’ case in chief
   23   (NFL witnesses, networks, etc.):
   24                a)     Plaintiffs shall not disclose their exhibits in advance, pursuant to
   25                       the parties’ agreement that exhibits used on an adverse or cross
   26                       examination need not be disclosed;
   27                b)     Immediately upon the commencement of the NFL Defendants’
   28                       examination of that witness, the NFL Defendants shall provide
                            two sets of all exhibits that it intends to use during its
                                                    2
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    1                       examination;
    2                 c)    These adverse witnesses called in Plaintiffs’ case will only be
    3                       examined once at trial, with that one time being during
    4                       Plaintiffs’ case in chief.
    5   Testimony of Sean McManus
    6           1)    Mr. McManus will be called to testify as the first witness on June 18,
    7                 2024, with the NFL Defendants conducting their direct examination
    8                 first, followed by Plaintiffs’ cross examination.
    9           2)    Pursuant to Federal Rule of Evidence 611(b), Plaintiffs’ cross
   10                 examination of Mr. McManus is permitted to go outside the scope of
   11                 the NFL Defendants’ direct examination.
   12           3)    For the purposes of the parties filing motions pursuant to Fed. R. Civ.
   13                 P. 50, Plaintiffs will not have rested their case in chief until after the
   14                 conclusion of Mr. McManus’s testimony.
   15   Use of Exhibits During Opening Statements
   16           The parties may show any demonstratives and any trial evidence during their
   17   opening statements, even if not admitted, without advance disclosure to the other
   18   side.
   19
           Dated: May 21, 2024            Respectfully submitted,
   20

   21                                            By:      /s/ Marc M. Seltzer
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    3
                                                       Individual NFL Clubs

    4
        All signatories listed, and on whose behalf the filing is submitted, concur in the
    5   filing’s content and have authorized the filing.
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